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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR284
                              )
          v.                  )
                              )
JACK W. DUKE, JR., and JOY L. )                      ORDER
DUKE,                         )
                              )
               Defendants.    )
______________________________)


          IT IS ORDERED that sentencing for these defendants is

rescheduled for:

                Friday, August 3, 2007, at 10 a.m. (Joy Duke)

                Friday, August 3, 2007, at 10:30 a.m. (Jack Duke)

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 17th day of July, 2007.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
